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 6
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     REAL ESTATE CONNECTION
 8
 9
10                          UNITED STATES DISTRICT COURT
11                        CENTRAL DISTRICT OF CALIFORNIA
12
     FRANCISCO GARCIA QUIROZ,                         Case No. 2:16-cv-03918 FMO(Ex)
13   FABIOLA VILLALOBOS, et al.
14          Plaintiffs,                               DISPUTED JURY INSTRUCTIONS
15                        v.                          Judge: Hon. Fernando M. Olguin
16                                                    Courtroom No. 22
     DIVERSIFIED HOLDINGS, LLC and
17   REAL ESTATE CONNECTION, a
18   business form unknown, and DOES 1
     through 10, Inclusive,
19
            Defendants.
20
21         The parties hereby submit, pursuant to Federal Rules of Civil Procedure section
22   51, the following disputed instructions to be read to the jury at trial:
23   ///
24   ///
25   ///
26   ///
27
28
                                                  1

                                    DISPUTED JURY INSTRUCTIONS
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 1                                     INSTRUCTION NO. 1
 2
             A landlord has an affirmative duty to curb disruptive or abusive conduct by
 3
     tenants, and failure to do so constitutes breach the covenant of quiet enjoyment
 4
     running in favor of other tenants at the premises.
 5
 6                 Authority: See Andrews v. Mobile Aire Estates (2005) 125 Cal.App.4th
 7   578, 593 (whether landlord breached covenant of quiet enjoyment by failing to curb
 8                                            Davis v. Gomez (1989) 207 Cal.App.3d 1401,
 9   1404-                                                                              quiet
10   enjoyment
11
     enjoyment of premises by tenants who complained of troublesome neighbor was
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     implied in tenants' lease, as it was in all leases, and imposed explicitly by Mobilehome
13
     Residency Law (MRL). Andrews v. Mobile Aire Estates (2005) 125 Cal.App.4th 578
14
     [22 Cal.Rptr.3d 832]
15
16                                                   :
17
     There is no cause of action for beach of the covenant of quiet enjoyment. To this end,
18
     the instruction is unnecessary.
19
20   As the court in Mathews v. Arrow Wood, LLC., 2009 WL 8659593 (C.D. Cal. 2009),
21   aptly pointed out, the desire to protect children cannot become the basis for overly-
22   broad protective rules that prevent all children from playing. The Matthews court
23   held:
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25
26   bumps or bruises, have been concerns dogging parents since the dawn of time. Were

27   such ever-present, generalized concerns deemed sufficient in and of themselves to
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                                                 2

                                    DISPUTED JURY INSTRUCTIONS
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 1   justify outdoor use restrictions to an apartment complex, there would be little place
 2   left that such a rule would not be considered valid. In short, the mantra of child
 3
     safety cannot and is not sufficient to justify a restriction absent some showing that the
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     particular concern captured by this rationale has a concrete connection to the
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                                                            Id. at 14-15.
 6
 7   Likewise, in Bischoff v. Brittain, Bischoff v. Brittain, 183 F. Supp. 3d 1080 (E.D. CA
 8   2016), the court rejected an argument from the landlord that noise and liability
 9   concerns justified rules that limited the right of children to use common areas. The
10   Court held:
11
                       on, defendants contend the guidelines are justified to protect the
12
     safety and well-being of young children, to limit noise and disturbances to other
13
14   residents, and to protect themselves from liability if the children are injured. Of these

15   asserted justifications, only the first is permissible under the Community House
16   standard; the other two justifications do not respond to legitimate safety concerns, and
17
18
     As the court in Llanos v. Coehlo, 24 F.Supp.2d 1052, 1060 (E.D. Cal. 1998), pointed
19
20
21
22   The Llanos Court also pointed out that disparate treatment claims could be brought
23   separately from disparate impact claims. The Court held:
24
25
     discrimination claims. Gamble v. City of Escondido, 104 F.3d 300, 1997 WL 7558,
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27
     *2, 97 Daily Journal DAR 473 (9th Cir. 1997). A plaintiff can use a disparate

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                                                 3

                                    DISPUTED JURY INSTRUCTIONS
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 1   treatment theory or a disparate impact theory in establishing a claim. Id. Here,
 2   Plaintiffs do not allege that Defendants' actions were outwardly neutral but had a
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     significant adverse effect on people situated in Plaintiffs' position; instead, they allege
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     Defendants' discriminatory motive caused their actions. Plaintiffs state a disparate
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     treatment claim. See Int'l Bhd of Teamsters v. United States, 431 U.S. 324, 335 n.15,
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     97 S. Ct. 1843, 1854 n.15, 52 L. Ed. 2d 396 (1977).
 7
 8   In Pac. Shores Props., LLC v. City of Newport Beach, 730 F.3d 1142, 1158 (9th. Cir.
 9   2013), the Court aptly pointed out that proof of differential treatment was not required
10   to prove a disparate treatment claim. To that end, the Pac. Shores court held;
11
                      ly establish that plaintiffs who allege disparate treatment under
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     statutory anti-discrimination laws need not demonstrate the existence of a similarly
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14   situated entity who or which was treated better than the plaintiffs in order to prevail.

15   See, e.g., Budnick, 518 F.3d at 1114; McGinest v. GTE Serv. Corp., 360 F.3d 1103,
16   1122 (9th Cir. 2004) (same in Title VII context).Proving the existence of a similarly
17   situated entity is only one way to survive summary judgment on a disparate treatment
18   claim. See McDonnell Douglas Corp. v. Green, 411 U.S. 792, 93 S. Ct. 1817, 36 L.
19   Ed. 2d 668 (1973). A plaintiff does not, however, have to rely on the McDonnell
20   Douglas approach to create a triable issue of fact regarding discriminatory intent in a
21
     disparate treatment case. See Costa v. Desert Palace, Inc., 299 F.3d 838, 855 (9th Cir.
22
     2002) (en banc), aff'd, 539 U.S. 90, 123 S. Ct. 2148, 156 L. Ed. 2d 84 (2003).
23
     Instead, he may "simply produce direct or circumstantial evidence demonstrating that
24
     a discriminatory reason more likely than not motivated" the defendant and that the
25
     defendant's actions adversely affected the plaintiff in some way. McGinest, 360 F.3d
26
27   at 1122; see also Trans World Airlines, Inc. v. Thurston, 469 U.S. 111, 121, 105 S.

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                                    DISPUTED JURY INSTRUCTIONS
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 1   Ct. 613, 83 L. Ed. 2d 523 (1985) ("[T]he McDonnell Douglas test is inapplicable
 2   where the plaintiff presents direct evidence of discrimination."); Lowe v. City of
 3
     Monrovia, 775 F.2d 998, 1006-07 (9th Cir. 1985), amended on other grounds, 784
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                                   DISPUTED JURY INSTRUCTIONS
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1                                    INSTRUCTION NO. 2
2
            A landlord has an affirmative duty to protect its tenants from known dangers,
3
      including persons (including tenants, as well as third-parties) with known violent
4
      propensities, and to protect the quiet enjoyment of all tenants.
5
6           Authority: Barber v. Chang (2007) 151 Cal.App.4th 1456, 1467 (landlord
7     sued because tenant with known dangerous propensities shot a visitor).
8
                                                      :
9
10    There is no cause of action for beach of the covenant of quiet enjoyment. To this
11    end, the instruction is unnecessary.
12
      There is no cause of action for beach of the covenant of quiet enjoyment. To this
13
      end, the instruction is unnecessary.
14
15    As the court in Mathews v. Arrow Wood, LLC., 2009 WL 8659593 (C.D. Cal.
16    2009), aptly pointed out, the desire to protect children cannot become the basis for
17    overly-broad protective rules that prevent all children from playing. The Matthews
18    court held:
19
                                                          g outside, be it nicks, scratches,
20
      bumps or bruises, have been concerns dogging parents since the dawn of time.
21
22    Were such ever-present, generalized concerns deemed sufficient in and of

23    themselves to justify outdoor use restrictions to an apartment complex, there would
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25                                               6
26
                                   DISPUTED JURY INSTRUCTIONS
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1     be little place left that such a rule would not be considered valid. In short, the
2     mantra of child safety cannot and is not sufficient to justify a restriction absent some
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      showing that the particular concern captured by this rationale has a concrete
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                                                                               Id. at 14-15.
5
6     Likewise, in Bischoff v. Brittain, Bischoff v. Brittain, 183 F. Supp. 3d 1080 (E.D.
7     CA 2016), the court rejected an argument from the landlord that noise and liability
8     concerns justified rules that limited the right of children to use common areas. The
9     Court held:
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11
      safety and well-being of young children, to limit noise and disturbances to other
12
      residents, and to protect themselves from liability if the children are injured. Of
13
14    these asserted justifications, only the first is permissible under the Community

15    House standard; the other two justifications do not respond to legitimate safety
16    concerns, and defendants have not shown that they otherwise benefit families with
17
18
      As the court in Llanos v. Coehlo, 24 F.Supp.2d 1052, 1060 (E.D. Cal. 1998),
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                                                                                ents to make,
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21
22    The Llanos Court also pointed out that disparate treatment claims could be brought
23    separately from disparate impact claims. The Court held:
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25                                               7
26
                                    DISPUTED JURY INSTRUCTIONS
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2     discrimination claims. Gamble v. City of Escondido, 104 F.3d 300, 1997 WL 7558,
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      *2, 97 Daily Journal DAR 473 (9th Cir. 1997). A plaintiff can use a disparate
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      treatment theory or a disparate impact theory in establishing a claim. Id. Here,
5
      Plaintiffs do not allege that Defendants' actions were outwardly neutral but had a
6
      significant adverse effect on people situated in Plaintiffs' position; instead, they
7
      allege Defendants' discriminatory motive caused their actions. Plaintiffs state a
8
9     disparate treatment claim. See Int'l Bhd of Teamsters v. United States, 431 U.S.

10    324, 335 n.15, 97 S. Ct. 1843, 1854 n.15, 52 L. Ed. 2d 396 (1977).
11    In Pac. Shores Props., LLC v. City of Newport Beach, 730 F.3d 1142, 1158 (9th.
12
      Cir. 2013), the Court aptly pointed out that proof of differential treatment was not
13
      required to prove a disparate treatment claim. To that end, the Pac. Shores court
14
      held;
15
      statutory anti-discrimination laws need not demonstrate the existence of a similarly
16
      situated entity who or which was treated better than the plaintiffs in order to prevail.
17
18    See, e.g., Budnick, 518 F.3d at 1114; McGinest v. GTE Serv. Corp., 360 F.3d

19    1103, 1122 (9th Cir. 2004) (same in Title VII context).Proving the existence of a
20    similarly situated entity is only one way to survive summary judgment on a disparate
21    treatment claim. See McDonnell Douglas Corp. v. Green, 411 U.S. 792, 93 S. Ct.
22    1817, 36 L. Ed. 2d 668 (1973). A plaintiff does not, however, have to rely on the
23    McDonnell Douglas approach to create a triable issue of fact regarding
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                                    DISPUTED JURY INSTRUCTIONS
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1     discriminatory intent in a disparate treatment case. See Costa v. Desert Palace, Inc.,
2     299 F.3d 838, 855 (9th Cir. 2002) (en banc), aff'd, 539 U.S. 90, 123 S. Ct. 2148,
3
      156 L. Ed. 2d 84 (2003). Instead, he may "simply produce direct or circumstantial
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      evidence demonstrating that a discriminatory reason more likely than not motivated"
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      the defendant and that the defendant's actions adversely affected the plaintiff in
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      some way. McGinest, 360 F.3d at 1122; see also Trans World Airlines, Inc. v.
7
      Thurston, 469 U.S. 111, 121, 105 S. Ct. 613, 83 L. Ed. 2d 523 (1985) ("[T]he
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9     McDonnell Douglas test is inapplicable where the plaintiff presents direct evidence

10    of discrimination."); Lowe v. City of Monrovia, 775 F.2d 998, 1006-07 (9th Cir.
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                                   DISPUTED JURY INSTRUCTIONS
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1                                    INSTRUCTION NO. 3
2
             In order to prevail on a Fair Housing Act Claim, a plaintiff must prove by a
3
       preponderance of the evidence that defendant violated the Fair Housing Act by
4
       showing that defendant s conduct actually or predictably had a substantial adverse
5
       impact against a protected class of which plaintiff claims to be a member.
6
7            Authority: 42 U.S.C.A. §§ 1981, 1982; Pfaff v. HUD, 88 F.3D 739, 745 (9th

8      Cir. 1996).
9
                                                              :
10
             42 U.S.C. §1981 & 1982 do not apply, as this is not a contract action.
11
                           have cited Pfaff v. HUD, 88 F.3d 739, 745 (9th. Circ. 1996), for
12
13
       predictably had a substantial adverse impact against a protected class of which
14
       plaintiff claims to be a member                                   Pfaff dealt with a
15
       disparate impact claim, not a disparate treatment claim. Herein, Plaintiffs are
16
       pursuing a theory based upon disparate treatment, not disparate impact. As such,
17
       Pfaff is inapplicable.
18
             In Llanos v. Estate of Coelho, 1997 U.S. Dist. LEXIS 23255 (E.D. CA
19
       1997), the court held:
20
21
       discrimination claims. Gamble v. City of Escondido, 104 F.3d 300, 1997 WL 7558,
22
       *2, 97 Daily Journal DAR 473 (9th Cir. 1997). A plaintiff can use a disparate
23
       treatment theory or a disparate impact theory in establishing a claim. Id. Here,
24
25                                               10
26
                                    DISPUTED JURY INSTRUCTIONS
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1      Plaintiffs do not allege that Defendants' actions were outwardly neutral but had a
2      significant adverse effect on people situated in Plaintiffs' position; instead, they
3      allege Defendants' discriminatory motive caused their actions. Plaintiffs state a
4      disparate treatment claim. See Int'l Bhd of Teamsters v. United States, 431 U.S.
5      324, 335 n.15, 97 S. Ct. 1843, 1854 n.15, 52 L. Ed. 2d 396 (1977).
6            In Pac. Shores Props., LLC v. City of Newport Beach, 730 F.3d 1142, 1158
7      (9th. Cir. 2013), the Court aptly pointed out that proof of differential treatment was
8      not required to prove a disparate treatment claim. To that end, the Pac. Shores
9      court held;
10
11     under statutory anti-discrimination laws need not demonstrate the existence of a
12     similarly situated entity who or which was treated better than the plaintiffs in order
13     to prevail. See, e.g., Budnick, 518 F.3d at 1114; McGinest v. GTE Serv. Corp., 360
14     F.3d 1103, 1122 (9th Cir. 2004) (same in Title VII context).Proving the existence of
15     a similarly situated entity is only one way to survive summary judgment on a
16     disparate treatment claim. See McDonnell Douglas Corp. v. Green, 411 U.S. 792,
17     93 S. Ct. 1817, 36 L. Ed. 2d 668 (1973). A plaintiff does not, however, have to rely
18     on the McDonnell Douglas approach to create a triable issue of fact regarding
19     discriminatory intent in a disparate treatment case. See Costa v. Desert Palace, Inc.,
20     299 F.3d 838, 855 (9th Cir. 2002) (en banc), aff'd, 539 U.S. 90, 123 S. Ct. 2148,
21     156 L. Ed. 2d 84 (2003). Instead, he may "simply produce direct or circumstantial
22     evidence demonstrating that a discriminatory reason more likely than not motivated"
23     the defendant and that the defendant's actions adversely affected the plaintiff in
24     some way. McGinest, 360 F.3d at 1122; see also Trans World Airlines, Inc. v.
25                                                11
26
                                     DISPUTED JURY INSTRUCTIONS
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1      Thurston, 469 U.S. 111, 121, 105 S. Ct. 613, 83 L. Ed. 2d 523 (1985) ("[T]he
2      McDonnell Douglas test is inapplicable where the plaintiff presents direct evidence
3      of discrimination."); Lowe v. City of Monrovia, 775 F.2d 998, 1006-07 (9th Cir.
4      1985), amended on other grounds, 784 F.2d 1407 (9th Cir
5            In Llanos v. Estate of Coelho, 1997 U.S. Dist. LEXIS 23255 (E.D. CA
6      1997), the court held:
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                                   DISPUTED JURY INSTRUCTIONS
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  1
  2   discrimination claims. Gamble v. City of Escondido, 104 F.3d 300, 1997 WL 7558,
  3   *2, 97 Daily Journal DAR 473 (9th Cir. 1997). A plaintiff can use a disparate
  4   treatment theory or a disparate impact theory in establishing a claim. Id. Here,
  5   Plaintiffs do not allege that Defendants' actions were outwardly neutral but had a
  6   significant adverse effect on people situated in Plaintiffs' position; instead, they allege
  7   Defendants' discriminatory motive caused their actions. Plaintiffs state a disparate
  8   treatment claim. See Int'l Bhd of Teamsters v. United States, 431 U.S. 324, 335 n.15,
  9   97 S. Ct. 1843, 1854 n.15, 52 L. Ed. 2d 396 (1977).
 10            Be that as it may, if the court is to adopt a ruling CACI Jury Instruction 430 is
 11   much more on point:
 12
 13   consider to have contributed to the harm. It must be more than a remote or trivial
 14
 15            As it stands, a prima facie case of housing discrimination alleging intentional
 16   discrimination based on familial status requires plaintiff to show that familial status
 17   was motivating factor, though not necessarily the sole motivating factor, in allegedly
 18   violative action. U.S. v. Branella, D.N.J.1997, 972 F.Supp. 294 (USDC New Jersey
 19   1997).
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                                       DISPUTED JURY INSTRUCTIONS
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  1                                   INSTRUCTION NO. 4
  2
              F               means
  3
      age of 18 years) being domiciled with ... (1) a parent or another person having legal
  4
      custody of such individual or individuals; or (2) the designee of such parent or other
  5
      person having such custody, with the written permission of such parent or other
  6
  7
  8   basis of familial status shall apply to any person who is pregnant or is in the process

  9   of securing legal custody of any in
 10   The law does not provide that disparate treatment of children would, by implication,
 11   necessarily amount to one directed at families.
 12
             Authority: 42 U.S.C. § 3602(k)
 13
 14                                                          :
 15
 16
      law.
 17
 18          Defendant seems to be taking aim at the fact that Plaintiff Francisco Garcia
 19   Quiroz is suing due to the injury he suffered when his visiting nephews were
 20   instructed not to play. On its face, it is unclear whether 42 U.S.C. §3602(k) applies
 21   for two reasons:
 22
 23
 24
 25          Second, 42 U.S.C. §3602(k) seems to suggest that the minor in question must
 26                                                                            unately, 42
 27
 28
                                                 14

                                    DISPUTED JURY INSTRUCTIONS
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  1         Fortunately, while the statute is somewhat narrowly drawn, case law
  2   interpreting it is broad. The United States Supreme Court has held that a plaintiff need
  3
      not be a member of a protected class to bring suit under the Fair Housing Act, so long
  4
      as the plaintiff suffered an actual injury due to the defendant's alleged discriminatory
  5
      conduct. Gladstone, Realtors v.. Vill. of Bellwood, 441 U.S. 91, 103 n. 9; 99 S.Ct.
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      1601, 60 L
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  9
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 11   §3606, or §3617. In 1972, the United States Supreme Court held this language
 12
 13   Article III of the Constitution. Trafficante v. Metropolitan Life Insurance Co., 409
 14   U.S. 205, 209 (1972).
 15
            In Moua v. City of Chico, 324 F Supp 2d 1132 (2004, ED Cal), the court ruled
 16
      that non-residents of an apartment complex had standing to sue if they could show
 17
 18   that they suffered injury as a result of the discriminatory conduct. Therein, non-

 19   resident Plaintiffs sued for a violation of the Fair Housing Act, on the claim that they
 20   were prohibited from visiting a resident in the complex. The court held that such
 21   individuals had standing to sue under the fair housing act even though neither Plaintiff
 22
 23                    Id. at 1142).    The court focused on injury, not on tenancy.
 24
            The Moua court also favorably cited the case of San Pedro Hotel Co. v. City
 25
      of Los Angeles, 159 F.3d 470 (9th Cir.1998), to support its position that non-residents
 26
 27   had standing to sue if they were injured by the discrimination. In San Pedro Hotel

 28
                                                  15

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  1   Co., the Ninth Circuit held that [U]nder the Act, any person harmed by
  2
      discrimination, whether or not the target of the discrimination, can sue to recover for
  3
      his or her own injury. This is true, for example, even where no housing has actually
  4
      been denied to persons protected under the Act. Id. at 475.
  5
  6          The Moua court cited two other cases to support its position that non-residents
  7   had standing to sue, Smith v. Stechel, 510 F.2d 1162, 1164 (9th Cir.1975) (real estate
  8   agent fired for renting apartments to minorities permitted to maintain FHA claim);
  9   Harris v. Itzhaki, 183 F.3d 1043, 1050 (upholding FHA standing of minority tenant
 10   based on apartment owners' discriminatory treatment of unrelated minority rental
 11
      tester).
 12
 13          In Gonzalez v. Diversified Real Prop. Mgmt. & Bus. Servs., 2010 U.S. Dist.

 14   LEXIS 146106 (C.D. CA 201), the court expressly rejected a motion for summary
 15   judgment, which sought to hold that visiting grandchildren to the complex had no
 16   standing to bring a claim.
 17
             The Gonzalez court held:
 18
 19                                              ee how Campos or her children could have
 20   standing to sue for violations of the FHA where they were mere visitors to the
 21   Complex and were not themselves discriminated against in the "sale or rental of a
 22   dwelling." However, as the Ninth Circuit has noted:
 23
             The Supreme Court has long held that claims brought under the Act are to be
 24
      judged under a very liberal standing requirement. Unlike actions brought under other
 25
 26
      provisions of civil rights law, the plaintiff need not allege that he or she was a victim

 27   of discrimination. Rather, the sole requirement for standing under the Act is the
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                                                  16

                                     DISPUTED JURY INSTRUCTIONS
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  1   "[Article] III minima of injury in fact." To meet this requirement, a plaintiff need only
  2   allege "that as a result of the defendant's [discriminatory conduct] he has suffered a
  3
      distinct and palpable injury."
  4
  5          In Gorski v Troy, 929 F2d 1183 (1991, CA7 Ill), the court found that an

  6   allegation that tenants were evicted from their apartment because of their attempt to
  7   qualify as foster parents and their intent to bring foster child into apartment was
  8   sufficient to give tenants standing as persons injured by discriminatory housing
  9   practice under 42 USCS § 3602, even though tenants were not yet in process of
 10   obtaining legal custody of child at time of eviction, where landlord's actions were
 11   discriminatory in that they expressed preference for tenants on basis of familial status
 12
      in violation of § 3604(c), and landlord retaliated against tenants when they attempted
 13
      to have discriminatory policy changed.
 14
 15
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 18
      provide that disparate treatment of children would, by implication, necessarily amount
 19
                                                                                Mathews v.
 20
      Arrow Wood LLC,
 21
      treatment of children would, by implication, necessarily amount to one directed at
 22
 23   families. See Fair Housing Congress v. Weber, 993 F.Supp. 1286, 1290 (C.D. Cal.

 24   1997) (noting that FHA's prohibition of discrimination on the basis of familial status
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                                DISPUTED JURY INSTRUCTIONS
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  1                                   INSTRUCTION NO. 5
  2
            A policy requiring supervision of children is legally justified when it is not
  3
      employed to discriminate on the basis of familial status but, rather, to benefit the
  4
      protected class and to address legitimate safety concerns.
  5
  6         Authority: Community House, Inc. v. City of Boise, 490 F.3d 1041, 1050 (9th
  7   Cir. 2007 ([1] the restriction benefits the protected class, or when [2] it responds to
  8   legitimate safety concerns raised by the individuals affected, rather than being based
  9
 10
                                                              :
 11
 12                                  Community House, Inc. v. City of Boise, 490 F.3d
 13   1041, 1050 (9th Cir. 2007), is misplaced, as Community House dealt with facially
 14   discriminatory rules. Herein, there are no facially discriminatory rules at issue.
 15
            In regard to supervision rules, they are largely illegal.
 16
 17         In U.S. v. Plaza Mobile Estates, 273 F.Supp.2d 1084, 1091 (C.D. Cal. 2003),
 18   the court found that a rule prohibiting children walking around the mobile home park
 19   without adult supervision was overly broad regardless of the concern for the
 20
                         Plaza Mobile, 273 F.Supp.2d at 1092.
 21
 22         In Pack v. Fort Washington II, 689 F.Supp.2d. 1237 (2009)(E.D.Cal. 2009),

 23   the court found that it was illegal to have rule which required the supervision of
 24   children 10-and-under in the common area. Id. at 1244.
 25
            In Iniestra v. Cliff Warren Investments, Inc., 2012 WL 3580533 (C.D. Calif.
 26
      2012),the court found that a rule whi
 27
 28
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  1   against children. Id. The court further held that a memo sent to tenants (Entitled
  2                                                equired children under 10-years-old to be
  3
      supervised, was likewise facially discriminatory. The court found that since the rules
  4
  5
      resulted in a violation of 42 U.S.C. §3604(c).1 Id.
  6
  7          In Blomgren v. Ogle, 850 F.Supp. 1427, 1438 fn 19 (E.D. Wash. 1993), the
  8   court noted:
  9
 10
                                                                                         impacts
 11
      the rights of the landowner in cases of liability causing acts. More importantly,
 12
      consider for example, the possible tragic consequences to the child who might be
 13
 14   trapped in a fire because no adult is close enough to lead the child to safety.

 15   Common sense also dictates parents are responsible for supervising the activities of
 16   their young children without the need for a written rule. Just as one who enters a
 17   national forest does not require a written rule stating it is unlawful to start a forest fire
 18   or one entering the Redwood forest does not require a written rule about cutting the
 19   old growth, neither does a parent need to be instructed by apartment rules not to leave
 20                                   Id. at 1438 fn 19.
 21
 22
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 24          1

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  1         In addition to the illegality of the supervision rule, the standard proposed by
  2
  3
      safety concerns), is inappropriate for a disparate treatment case.
  4
  5         In Bischoff v. Brittain, Bischoff v. Brittain, 2016 U.S. Dist. LEXIS 126685

  6   (E.D. CA 2016), the Court discussed the handling of disparate treatment cases. The
  7   Bischoff Court held:
  8
  9
      treatment or disparate impact theory. Budnick v. Town of Carefree, 518 F.3d 1109,
 10
      1114 (9th Cir. 2008) (courts apply Title VII discrimination analysis in cases brought
 11
      under the FHA). Plaintiffs here rely on the disparate treatment theory. (ECF 4-2 at 8
 12
      ("plaintiffs contend that defendants have violated the [FHA] through disparate
 13
 14   treatment based on familial status in relation to housing facilities and common areas . .

 15   . .").) Accordingly, this court's analysis is limited to disparate treatment. See Iniestra
 16   v. Cliff Warren Investments, Inc., 886 F. Supp. 2d 1161, 1166 (C.D. Cal. 2012)
 17   (where the plaintiffs argued under only a disparate treatment theory, the court
 18   "follow[ed] the briefing submitted by [the] [p]laintiffs and limit[ed] itself to a
 19   disparate treatment analysis. Also, because [p]laintiffs successfully ma[de] a showing
 20   under disparate treatment, there [was] no need to delve into a disparate impact
 21
      analysis").
 22
 23         Cases relying on disparate treatment generally are analyzed under the

 24   burden-shifting framework articulated in McDonnell Douglas Corp. v. Green, 411
 25   U.S. 792, 93 S. Ct. 1817, 36 L. Ed. 2d 668 (1973). Under that framework, a plaintiff
 26   has the initial burden of establishing a prima facie case of housing discrimination.
 27   Harris v. Itzhaki, 183 F.3d 1043, 1051 (9th Cir. 1999). The elements of a prima facie
 28
                                                   21

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  1   case under the McDonnell Douglas framework vary depending on the facts of each
  2   case. See id. Adapted to the instant case, the elements are: (1) plaintiffs' rights are
  3
      protected under the FHA; and (2) plaintiffs have suffered an injury because of
  4
      defendants' discriminatory acts. Id. Once a plaintiff establishes a prima facie case, a
  5
      presumption of discrimination arises. Id. Then, the burden shifts to defendants "to
  6
      articulate some legitimate, nondiscriminatory reason for the action." Id. "To
  7
      accomplish this, the defendant is only required to set forth a legally sufficient
  8
  9   explanation." Id. After a defendant asserts a legitimate reason, the plaintiffs must then

 10
 11         However, "a plaintiff can also establish a prima facie case of disparate
 12
      treatment without satisfying the McDonnell Douglas test." Lowe v. City of Monrovia,
 13
      775 F.2d 998, 1006 (9th Cir. 1985) amended, 784 F.2d 1407 (9th Cir. 1986).
 14
      Meaning, "[i]n lieu of satisfying the elements of a prima facie case, a plaintiff may
 15
      also simply produce direct or circumstantial evidence demonstrating that a
 16
      discriminatory reason more likely than not motivated the challenged decision."
 17
 18   Budnick, 518 F.3d at 1114. Yet, under either method of establishing a prima facie

 19   case, "the plaintiff must counter the defendant's explanation with some evidence
 20   suggesting that the challenged action was due in part or whole to discriminatory
 21
 22
            In Bischoff                                                              -reaching
 23
      rules. The Court held:
 24
 25
 26   policy. Only one of defendants' purported justifications was permissible under
 27   Community House: that the policy protected the safety and well-being of young
 28
                                                  22

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  1   children. Prev. Order 13. The only evidence defendants offered to support this
  2   justification was Brittain's declaration. Id. Brittain generally identified the following
  3
      safety hazards: the street adjacent to the complex, tables and trees in the courtyard
  4
      common area, outdoor grilling equipment, and a fenced swimming pool. Id. at 13-14
  5
      (quoting Brittain Decl. I ¶ 6). She noted that one three-year-old child had drowned at
  6
      a different apartment complex in August 2014 while the child was unsupervised.
  7
      Brittain Decl. I ¶ 6. After considering this evidence and the relevant case law, the
  8
  9   court determined that defendants' safety concerns "[were] based largely on unfounded

 10   speculation," and that their policy "[was] not adequately tailored to respond to those
 11   purported concerns." Prev. Order 14. The court concluded that defendants had not
 12   created a triable dispute as to whether the facial discrimination was justified under the
 13   FHA. Id. at 13-15. In addition to finding Brittain Commercial liable under § 3604(b)
 14   for its policy, the court also found RZM vicariously liable as the owner of Birchwood
 15   Gardens. Id. at 15-16. Accordingly, the court granted Project Sentinel's motion for
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  1                                    INSTRUCTION NO. 6
  2
            In order to recover damages, Plaintiffs must prove by a preponderance of the
  3
  4
                 so as to demonstrate disparate treatment in the enforcement of the policies.
  5
  6         Authority Harris v. Ithzaki, 183 F.3d 1043, 1051 (9th Cir. 1999); 42 U.S.C.
  7   3601, et seq.
  8
                                                              :
  9
 10         The case cited by Defendant, Harris v. Ithzaki, F.3d 1043, 1051 (9th Cir.
 11   1999), says nothing about damages as it would relate to the current case in any
 12   fashion.
 13
            Moreover, Defendant proffers the incorrect standard. Damages in a fair
 14
      housing case have been used to compensate plaintiffs for nonmonetary injuries such
 15
      as humiliation, embarrassment, and emotional distress. Green v. Rancho Santa Fe
 16
 17   Mortgage Co., 33 Cal.Rptr. 706, 714 (1994). The Supreme Court in U.S. v. Burke,

 18   504 U.S. 229 (1992), has ruled that victims of discrimination could recover damages
 19   for injuries such as                                                     Id. at 241.
 20                                                        if no damages are established, a
 21   plaintiff is still entitled to (at the minimum) an award of nominal damages for the
 22   value of a lost constitutional right. Memphis Community School District v. Stachura,
 23   477 U.S. 299 (1986).      See also Maney v. Brinkley Mun. Waterworks & Sewer Dept.,
 24
      802 F.2d 1073, 1076 (8th Cir. 1986) (Nominal damages are appropriately awarded on
 25
      a claim of racial discrimination in violation of Title VII even if no actual damages are
 26
      shown). If no emotional distress damages are awarded, plaintiff is entitled to nominal
 27
 28
                                                   24

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  1   damages not to exceed one dollar if he has been the victim of intentional racial
  2   discrimination. Irby v. Sullivan, 737 F.2d 1418, 1433 n.30 (5th Cir. 1984).     See also
  3
      Carey et al. v. Piphus et al., 435 U.S. 247, 266-267 (1978) ("Plaintiffs entitled to
  4
      recover "nominal damages not to exceed one dollar" for denial of procedural due
  5
      process rights, without proof of actual injury).
  6
  7
  8   before damages can be awarded.
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  1                                  INSTRUCTION NO. 7
  2
  3
      something is more likely so than it is not so. In other words, a preponderance of the
  4
      evidence in the case means such evidence as, when considered and compared to that
  5
      opposed to it, has more convincing force, and produces in your mind a belief that
  6
      what is sought to be proved is more likely true than not true.
  7
  8         In determining whether any fact in issue has been proved by a preponderance of

  9   the evidence in the case, you may, unless otherwise instructed, consider the testimony
 10   of all witnesses, regardless of who may have called them, and all exhibits received in
 11   evidence, regardless of who may have produced them.
 12         Authorities. See Williams v. Matthews Co., 499 F.2d 819, 826 (8th Cir.), cert.
 13   denied, 419 U.S. 1021, 95 S.Ct. 495, 42 L.Ed.2d 294, and 419 U.S. 1027, 95 S.Ct.
 14
      507, 42 L.Ed.2d 302 (1974) (when plaintiff makes out a prima facie case of housing
 15
      discrimination, burden shifts to defendant to articulate some legitimate non-
 16
 17
 18
                                                              :
 19
 20
            Plaintiffs have no objection to this jury instruction.
 21
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                                    DISPUTED JURY INSTRUCTIONS
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  1                                   INSTRUCTION NO. 8
  2
            If, after considering plaintiff s evidence and defendant s rebuttal of that
  3
      evidence, you find plaintiff has established each and every element of plaintiff s
  4
      claim, only then should you concern yourselves with the defenses offered by
  5
      defendant.
  6
            With regard to any of defendant s defenses, remember that plaintiff must
  7
  8   disprove the defense by a preponderance of the evidence. In other words, defendant

  9   establishes the defense unless you find the evidence that opposes the existence of that
 10   defense has more convincing force to you than the evidence that supports it.
 11         If you find plaintiff has successfully rebutted the defense, then you must find
 12   for plaintiff. If you find defendant has established defendant s defense, then you must
 13   find for defendant.
 14         Authorities. See Williams v. Matthews Co., 499 F.2d 819, 826 (8th Cir.), cert.
 15
      denied, 419 U.S. 1021, 95 S.Ct. 495, 42 L.Ed.2d 294, and 419 U.S. 1027, 95 S.Ct.
 16
      507, 42 L.Ed.2d 302 (1974) (when plaintiff makes out a prima facie case of housing
 17
      discrimination, burden shifts to defendant to articulate some legitimate non-
 18
      discriminatory reason for plaintiff s rejection).
 19
                                                             :
 20
 21
            The instruction is too confusing.
 22
 23         In addition, not all claims require the McDonnell Douglas burden shifting
 24   analysis. In Pac. Shores Props., LLC v. City of Newport Beach, 730 F.3d 1142, 1158
 25   (9th. Cir. 2013), the Court aptly pointed out that proof of differential treatment was not
 26   required to prove a disparate treatment claim. To that end, the Pac. Shores court
 27
 28
                                                  27

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  1   held;
  2
  3                                                    iffs who allege disparate treatment under

  4   statutory anti-discrimination laws need not demonstrate the existence of a similarly
  5   situated entity who or which was treated better than the plaintiffs in order to prevail.
  6   See, e.g., Budnick, 518 F.3d at 1114; McGinest v. GTE Serv. Corp., 360 F.3d 1103,
  7   1122 (9th Cir. 2004) (same in Title VII context).Proving the existence of a similarly
  8   situated entity is only one way to survive summary judgment on a disparate treatment
  9   claim. See McDonnell Douglas Corp. v. Green, 411 U.S. 792, 93 S. Ct. 1817, 36 L.
 10
      Ed. 2d 668 (1973). A plaintiff does not, however, have to rely on the McDonnell
 11
      Douglas approach to create a triable issue of fact regarding discriminatory intent in a
 12
      disparate treatment case. See Costa v. Desert Palace, Inc., 299 F.3d 838, 855 (9th Cir.
 13
      2002) (en banc), aff'd, 539 U.S. 90, 123 S. Ct. 2148, 156 L. Ed. 2d 84 (2003).
 14
      Instead, he may "simply produce direct or circumstantial evidence demonstrating that
 15
 16   a discriminatory reason more likely than not motivated" the defendant and that the

 17   defendant's actions adversely affected the plaintiff in some way. McGinest, 360 F.3d
 18   at 1122; see also Trans World Airlines, Inc. v. Thurston, 469 U.S. 111, 121, 105 S.
 19   Ct. 613, 83 L. Ed. 2d 523 (1985) ("[T]he McDonnell Douglas test is inapplicable
 20   where the plaintiff presents direct evidence of discrimination."); Lowe v. City of
 21   Monrovia, 775 F.2d 998, 1006-07 (9th Cir. 1985), amended on other grounds, 784
 22
 23
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                                                  28

                                     DISPUTED JURY INSTRUCTIONS
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  1                                   INSTRUCTION NO. 9
  2
            If you determine plaintiff proved that plaintiff s membership in a protected
  3
      class was a factor motivating or playing a part in defendant s decision not to allow
  4
      equal use of any aspect of a dwelling to plaintiff, then you must consider any other
  5
      reason given by the defendant for its decision.
  6
  7         Authorities. See Williams v. Matthews Co., 499 F.2d 819, 826 (8th Cir.), cert.

  8   denied, 419 U.S. 1021, 95 S.Ct. 495, 42 L.Ed.2d 294, and 419 U.S. 1027, 95 S.Ct.
  9   507, 42 L.Ed.2d 302 (1974) (when plaintiff makes out a prima facie case of housing
 10   discrimination, burden shifts to defendant to articulate some legitimate non-
 11
 12
                                                              :
 13
 14         This instruction is incorrect, as it is too confusing. In addition, the instruction
 15   seems to suggest that, so long as Defendant has a good reason, it may discriminate.
 16
            In addition, Defendant cites Williams v. Matthews Co., which is nothing more
 17
      than a case that cited McDonnell Douglas and its burden shifting standard. In
 18
 19   Sanghvi v. City of Claremont, 328 F.3d 532 (9th Cir. 2003), the Court rejected a

 20   reading of the McDonnell Douglas burden-shifting standard to a jury. The Sanghvi
 21   court held:
 22
                                               d observations of this and other circuits, we
 23
      conclude that it is error to charge the jury with the elements of the McDonnell
 24
      Douglas prima facie case. The technical elements of the presumptions and shifting
 25
 26   burdens have significant potential to confuse juries. See Costa, 299 F.3d at 855.

 27
            Moreover, "at [the jury] stage, the framework unnecessarily evades the ultimate
 28
                                                  29

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  1   question of discrimination vel non." Id. at 855-56, quoting Aikens, 460 U.S. at 714.
  2   Instead of burdening the jury with the details of a framework designed to allocate
  3
      burdens and promote the orderly presentation of evidence, district courts should focus
  4
      the fact finders on the one essential question: whether the plaintiff is a victim of
  5
      intentional discrimination. Aikens, 460 U.S. at 716; G
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                                     DISPUTED JURY INSTRUCTIONS
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  1                                   INSTRUCTION NO. 10
  2
            If you determine defendant showed that it would have reached the same
  3
      decision regardless of plaintiff s membership in a protected class, then you must
  4
      decide in favor of defendant.
  5
  6         Authorities. See Robinson v. 12 Lofts Realty, Inc., 610 F.2d 1032, 1039 40
  7   (2d Cir.1979); United States v. City of Black Jack, 508 F.2d 1179, 1187 88 (8th
  8   Cir.1974), cert. denied, 422 U.S. 1042, 95 S.Ct. 2656, 45 L.Ed.2d 694 (1975).
  9
                                                               :
 10
            The instruction is too confusing. Moreover, the cases cited by Defendant are
 11
      inapplicable to their argument.
 12
 13
 14
            U.S. v. Branella, D.N.J.1997, 972 F.Supp. 294 (USDC New Jersey 1997) ( To

 15   that end, a case of intentional discrimination requires the plaintiff to show, inter alia,

 16   that familial status was a motivating factor (though not necessarily the sole motivating
 17   factor) in the allegedly violative action. See Robinson v. 12 Lofts Realty, Inc., 610
 18   F.2d 1032, 1042 (2d Cir.1979) (analogous race discrimination claim), cited
 19
 20         Robinson v. 12 Lofts Realty, Inc.
 21
      need not be sole motivating factor in denial that has discriminatory effect in order for
 22
      plaintiff to succeed in claim under Fair Housing Act; denial violates statute if race is
 23
 24
 25
 26
 27
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                                      DISPUTED JURY INSTRUCTIONS
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  1                                  INSTRUCTION NO. 11
  2
            If defendant establishes by a preponderance of the evidence that plaintiff could
  3
      have reduced the harm done to plaintiff but failed to do so, plaintiff is entitled only to
  4
      damages sufficient to compensate for the injury that plaintiff would have suffered had
  5
      plaintiff taken appropriate action to reduce the harm.
  6
            Authorities. See Meyers. v. City of Cincinnati, 14 F.3d 1115, 1119 (6th
  7
  8   Cir.1994); Fleming v. County of Kane, 898 F.2d 553, 561 (7th Cir.1990). A prima

  9   facie showing of disparate impact in a Fair Housing Act suit cannot be overcome by
 10   the defendant s simply showing some legitimate purpose; the defendant must prove a
 11   business necessity sufficiently compelling to justify the challenged practice. Betsey v.
 12   Turtle Creek Associates, 736 F.2d 983, 988 89 (4th Cir.1984). Accord Davis v.
 13   Richmond, Fredericksburg & Potomac Ry., 803 F.2d 1322, 1328 (4th Cir.1986).
 14   Contra Boyd v. Lefrak Organization, 509 F.2d 1110, 1114 (2d Cir.), cert. denied, 423
 15
      U.S. 896, 96 S.Ct. 197, 46 L.Ed.2d 129 (1975) (rejecting use of business necessity
 16
      test in Fair Housing Act action). But see Huntington Branch, NAACP v. Town of
 17
      Huntington, 844 F.2d 926, 934 (2d Cir.), judgment affirmed in part, 488 U.S. 15, 109
 18
 19
      Lefrak still apply in a Title VIII case against a private defendant, a matter of
 20
 21   considerable uncertainty, the disparate impact approach of Title VII cases is fully

 22
 23                                                            :
 24
            It is hard to comprehend how this instruction could apply to this case. The
 25
      instruction appears to suggest that Plaintiffs had a duty to mitigate damages.
 26
 27         Tyus v. Urban Search Management, 102 F.3d 256 (7th Cir. 1996), the Court
 28
                                                  32

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  1   held:
  2
  3                                               ate for cases in which a person is denied

  4   housing and must find alternative housing, see, e.g., Miller v. Apartments & Homes of
  5   N.J., Inc., 646 F.2d 101, 111-12 (3d Cir. 1981); Young v. Parkland Village, Inc., 460
  6   F. Supp. 67, 71 (D. Md. 1978), it is not required for intangible losses or
  7   organizational claims, both of which are recoverable in Fair Housing Act cases. See,
  8   e.g., United States v. Balistrieri, 981 F.2d 916, 933 (7th Cir. 1992), cert. denied, 510
  9   U.S. 812, 114 S. Ct. 58, 126 L. Ed. 2d 28 (1993); Ragin v. Harry Macklowe Real
 10
      Estate Co., 6 F.3d 898, 904-05 (2d Cir. 1993). Thus, the very essence of the court's
 11
      instruction--that these plaintiffs had a duty to avoid their damages--was wrong. The
 12
      Fair Housing Act does not require notification prior to filing a suit, nor does it require
 13
 14
 15           Herein, Plaintiffs alleged that their children were subjected to discriminatory
 16
      harassment by the resident manager. There is no conceivable way that they could
 17
      have mitigated this damage, other than filing the current lawsuit. As such, the
 18
      proposed instruction is inappropriate.
 19
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  1         4.13 ADVERSE INTEREST EXCEPTION
  2
  3         If you find that Fernando Ramirez or Yessenia Vasquez were acting solely for

  4   their own purp
  5
  6   Diversified Holdings, LLC.
  7
            However, if you find that defendant Diversified Holdings ratified or knowingly
  8
  9
      received a benefit from the acts or omissions of Fernando Ramirez or Yessenia

 10   Vasquez, then you may find defendant Diversified Holdings liable if you find that

 11   Fernando Ramirez or Yessenia Vasquez acted within their authority.
 12
            Authority: Fair Housing Congress v. Weber, 993 F.Supp. 1286, 1294 (C.D.
 13
      Cal. 1997); Phiffer v. Proud Parrot Motor Hotel, Inc., 648 F.2d 548, 552 (9th Cir.
 14
      1980); Walker v. Crigler, 976 F.2d 900, 904-905 (4th Cir. 1992); Hamilton v. Svatik,
 15
 16   779 F.2d 383, 388 (7th Cir. 1985); Northside Realty Ass'n. v. U.S., 605 F.2d 1348,

 17   1353-54 (5th Cir. 1979); Marr v. Rife, 503 F.2d 735, 740-42 (6th Cir. 1974); People
 18   Helpers, Inc. v. City of Richmond, No. 91-682, 1992 U.S. Lexis at 25-25 (E.D. Va.
 19   April 13, 1992); Davis v. Mansards, 597 F.Supp. 334, 344 (N.D. Ind. 1984); U.S. v.
 20   Youritan Constr. Co. 370 F.Supp. 643, 649 (N.D. Cal. 1973), aff'd in part and
 21   remanded in part, 509 F.2d 623 (9th Cir. 1975). Fair Housing Congress v. Weber,
 22                                                             roperty owner is liable for
 23
      the discriminatory acts of employees even if the property owner instructed his
 24
      employees not to discriminate. Walker v. Crigler, 976 F.2d 900, 904 5 (4th
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  1                        jection:
  2
  3         The adverse interest exception is narrow and generally requires "an agent to

  4
  5   Cement & Concrete Workers Dist. Council Pension Fund v. Hewlett Packard Co.,
  6   964 F. Supp. 2d 1128, 1144-45 (N.D. Cal. 2013) (quoting USACM Liquidating Trust
  7   v. Deloitte & Touche LLP, 764 F. Supp. 2d 1210, 1218 (D.Nev. 2011)).
  8
  9
 10
                                                      e for the discriminatory acts of their
 11
      representatives. Moreover, a property owner is liable for the discriminatory acts of a
 12
      fellow owner even if the property owner instructed his or her fellow owner not to
 13
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  1           5.3 DAMAGES          MITIGATION
  2
  3                     The plaintiffs each have a duty to use reasonable efforts to mitigate

  4   damages. To mitigate means to avoid or reduce damages. The defendant has the
  5   burden of proving by a preponderance of the evidence: 1. that the plaintiff failed to
  6   use reasonable efforts to mitigate damages; and 2. the amount by which damages
  7   would have been mitigated.
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              Tyus v. Urban Search Management, 102 F.3d 256 (7th Cir. 1996), the Court
 11
      held:
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 13
 14   housing and must find alternative housing, see, e.g., Miller v. Apartments & Homes of
 15   N.J., Inc., 646 F.2d 101, 111-12 (3d Cir. 1981); Young v. Parkland Village, Inc., 460
 16   F. Supp. 67, 71 (D. Md. 1978), it is not required for intangible losses or
 17
      organizational claims, both of which are recoverable in Fair Housing Act cases. See,
 18
      e.g., United States v. Balistrieri, 981 F.2d 916, 933 (7th Cir. 1992), cert. denied, 510
 19
      U.S. 812, 114 S. Ct. 58, 126 L. Ed. 2d 28 (1993); Ragin v. Harry Macklowe Real
 20
      Estate Co., 6 F.3d 898, 904-05 (2d Cir. 1993). Thus, the very essence of the court's
 21
      instruction--that these plaintiffs had a duty to avoid their damages--was wrong. The
 22
 23   Fair Housing Act does not require notification prior to filing a suit, nor does it require

 24   a suit to be fi
 25
              Herein, Plaintiffs alleged that their children were subjected to discriminatory
 26
      harassment by the resident manager. There is no conceivable way that they could
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                                                    36

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  1   have mitigated this damage, other than filing the current lawsuit. As such, the
  2   proposed instruction is inappropriate.
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                                    DISPUTED JURY INSTRUCTIONS
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  1         413 Custom or Practice
  2
  3         You may consider customs or practices in the community in deciding whether

  4   Defendant Diversified Holdings acted reasonably. Customs and practices do not
  5   necessarily determine what a reasonable person would have done in Diversified
  6   Holdings' situation. They are only factors for you to consider.
  7
            Following a custom or practice does not excuse conduct that is unreasonable.
  8
  9
      You should consider whether the custom or practice itself is reasonable.

 10
 11
 12         This instruction has no application to the current case, and is confusing.
 13
 14
 15                                           THE SAFARIAN FIRM, APC.
 16
 17   DATED: January 7, 2018                  By: /s/ Harry A. Safarian
                                                     Harry A. Safarian
 18                                           Attorneys for Defendants,
 19                                           DIVERSIFIED HOLDINGS, LLC dba
                                              REAL ESTATE CONNECTION
 20
 21   Dated: January 7, 2018                  LAW OFFICES OF CRAIG P. FAGAN
 22
                                              By: /s/Craig P. Fagan
 23                                           Craig P. Fagan
 24                                           Attorneys for all Plaintiffs

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                                    DISPUTED JURY INSTRUCTIONS
